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COLLEGE


                     IN THE UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

IN RE:                                            §
JASON CHRISTOPHER WARREN                          §
                                                  §   CASE NO. 20-41957
                                                  §   CHAPTER
DEBTOR                                            §

  NOTICE OF APPEARANCE UNDER BANKRUPTCY RULE 9010 (b) COMBINED
 WITH REQUEST FOR ALL COPIES PURSUANT TO BANKRUPTCY RULE 2002(a)


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

       PARIS COMMUNITY COLLEGE, a secured creditor in the above-referenced matter,

hereby requests that all notices given or required to be given in this case and any cases consolidated

herewith, and all papers served or required to be served in this case, and any cases consolidated

herewith, be given to and served upon the following attorneys:

 Paul M. Lopez                      Larry R. Boyd                        Emily M. Hahn
 Abernathy, Roeder, Boyd &          Abernathy, Roeder, Boyd &            Abernathy, Roeder, Boyd &
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       This request encompasses all notices, copies, and pleadings referred to in Section 1109(b)

of Title 11, of the United States Code, or in Rules 2002 or 9007 of the Bankruptcy Rules, including,

without limitation, notices of any orders, motions, demands, complaints, petitions, pleadings or

requests, applications, and any other documents brought before this court in this case, whether

formal or informal, written or oral, or transmitted or conveyed by mail, email, delivery, telephone,

telegraph, telex, ECF, or otherwise which affects or seeks to affect the above case.

                                              Respectfully submitted,

                                              ABERNATHY, ROEDER, BOYD &
                                              HULLETT, P.C.

                                              By: /s/ Paul M. Lopez
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                                              ATTORNEYS FOR PARIS JUNIOR
                                              COLLEGE

                                CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on September 18, 2020, a copy of the foregoing
document was served on the parties electronically via the Court’s ECF System.

                                              /s/ Paul M. Lopez




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